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     Attorneys for Defendant,
11   MICKI’S TOWING, INC.
12                                 UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14

15    INDIA HARVILLE                                  CASE NO. 4:20-cv-06966-KAW
                                                      Civil Rights
16            Plaintiff,
                                                       STIPULATION AND [PROPOSED] ORDER
17            v.                                       OF DISMISSAL WITH PREJUDICE

18    MICKI’S TOWING, INC.,                           Action Filed: October 6, 2020

19            Defendant.

20            Defendants.

21

22                                                STIPULATION

23           Plaintiff INDIA HARVILLE (“Plaintiff”) and Defendant MICKI’S TOWING, INC.

24   (“Defendants”) hereby stipulate and request pursuant to FRCP Rule 41(a) that the Court order

25   that all of Plaintiff’s claims in this action against Defendant be dismissed with prejudice.

26   IT IS SO STIPULATED.

27   //

28   //
                                                        1
     STIP TO DISMISS
     CASE NO. 4:20-cv-06966-KAW
       Case 4:20-cv-06966-KAW Document 13 Filed 01/07/21 Page 2 of 3



 1   Date: January 4, 2021                                 REIN & CLEFTON
 2

 3                                                            /s/ Aaron M. Clefton
                                                           By AARON M. CLEFTON, Esq.
 4                                                         Attorney for Plaintiff
                                                           INDIA HARVILLE
 5

 6
     Date: January 4, 2021                                 KINGSTON LAW OFFICES
 7

 8
                                                           ____/s/ Joann Kingston____________
 9                                                         By: JOANN KINGSTON, ESQ.
                                                           Attorneys for Defendant
10                                                         MICKI’S TOWING, INC.
11
                                        FILER’S ATTESTATION
12
             Pursuant to Civil Local Rule 5-1, I hereby attest that on January 4, 2021, I, Aaron M.
13
     Clefton, attorney with Rein & Clefton, received the concurrence of Joann Kingston, Esq. in the
14
     filing of this document.
15                                         /s/ Aaron M. Clefton
                                           AARON M. CLEFTON
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     STIP TO DISMISS
     CASE NO. 4:20-cv-06966-KAW
       Case 4:20-cv-06966-KAW Document 13 Filed 01/07/21 Page 3 of 3



 1                                             ORDER
 2           Pursuant to stipulation, and for good cause shown, IT IS SO ORDERED.
                                                                      S DISTRICT
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 3                                                                TA




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                                                        UNIT
 4   Dated: January
            ________,
                    7 2021                     __________________________________
                                                           IT IS S
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                                               Honorable Kandis A. Westmore
 5                                             United StatesJuMagistrate        tmoreJudge
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     STIP TO DISMISS
     CASE NO. 4:20-cv-06966-KAW
